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STATE OF SOUTH CAROLINA                  )      IN THE COURT OF COMMON PLEAS
                                         )    FOR THE TWELFTH JUDICIAL CIRCUIT
COUNTY OF FLORENCE                       )      CASE NUMBER: 2022-CP-21-
                                         )
Jacquelyn Stewart,                       )
                                         )
                   Plaintiff,            )
                                         )
            v.                           )                      SUMMONS
                                         )
South Carolina CVS Pharmacy,             )
L.L.C.,                                  )
                                         )
                   Defendant.            )
                                         )

 TO: THE DEFENDANT ABOVE NAMED:

      YOU ARE HEREBY SUMMONED and required to answer the Complaint

in this action, a copy of which is herewith served upon you, and to

serve a copy of your Answer to said Complaint on the subscriber at

205 N. Irby Street, Florence, South Carolina, within thirty (30)

days from the service hereof, exclusive of the date of such

service; and if you fail to answer the Complaint within the time

aforesaid, judgment by default will be rendered against you for the

relief demanded in the Complaint.


                                         s/ E. Guy Ballenger
                                         E. GUY BALLENGER
                                         S.C. BAR NUMBER 72499
                                         BARTH, BALLENGER AND LEWIS, L.L.P.
                                         ATTORNEYS FOR PLAINTIFF
                                         POST OFFICE BOX 107
                                         FLORENCE, SOUTH CAROLINA 29503
                                         (843) 662-6301 (TELEPHONE)
                                         (843) 664-8384 (FACSIMILE)
                                         gballenger@bbllawsc.com (E-MAIL)
Florence, South Carolina
July 27, 2022
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STATE OF SOUTH CAROLINA                   )      IN THE COURT OF COMMON PLEAS
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COUNTY OF FLORENCE                        )      CASE NUMBER: 2022-CP-21-
                                          )
Jacquelyn Stewart,                        )
                                          )
                    Plaintiff,            )
                                          )
             v.                           )                  COMPLAINT
                                          )
South Carolina CVS Pharmacy,              )
L.L.C.,                                   )
                                          )
                    Defendant.            )
                                          )

      The plaintiff, complaining of the defendant herein, would

respectfully allege and show unto this Honorable Court as follows:

      1.     The plaintiff is a citizen and resident of the County of

Florence, State of South Carolina.

      2.     The defendant South Carolina CVS Pharmacy, L.L.C., upon

information and belief, is a corporation organized and existing

under the laws of the state of South Carolina, and the defendant

maintains business locations in Florence County, South Carolina and

thereby employs agents and servants and conducts business in

Florence County, South Carolina.                 The defendant owns, possesses,

operates     and is responsible for the physial condition of the

premises located at 3306 W. Palmetto Street, Florence, SC 29501,

also known as store number 7609.                      Said location is commonly

referred to as CVS, CVS Pharmacy or CVS Pharmacy on Palmetto

Street.

      4.     This is an action for personal injury by way of premises

liability.        This Court has personal jurisdiction over the parties
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and subject matter.         Venue is proper in Florence County, South

Carolina.

                          FOR A FIRST CAUSE OF ACTION
                        (Negligence/Premises Liability)


      5.    That each and every allegation set forth herein above is

repeated, re-alleged, re-asserted and incorporated herein as if set

forth fully, verbatim.

      6.    On August 24, 2021, the plaintiff entered the defendant’s

premises for the purpose of purchasing prescription medication.

The plaintiff was on the premises for the mutual benefit of both

parties     and    to     purchase       goods,   specifically      prescription

medication, from the defendant.            Therefore the plaintiff, while on

the defendant’s premises for the purposes as described above,

maintained the status of a business invitee.

      7.    While on the defendant’s premises and while exiting the

premises through the main, and only, public entrance/exit way, the

defendant tripped upon the flooring in the door way, more commonly

referred to as the “door sill.”           The plaintiff tripped and fell due

to the fact that the flooring and/or door sill was unduly and

improperly raised and created a trip and fall hazard for the

plaintiff and all of those persons similarly situated as the

plaintiff, specifically, elderly, with decreased mobility, and at

an increased risk for tripping and falling due to any type of

defect in the premises condition.

      8.    The    defendant    knew      or   should   have    known      that   the

condition of the door sill and floor at the only entrance and exit
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to the store was in such a condition that posed a significant and

unreasonable risk of danger to the plaintiff and other business

invitees located upon the premises.

      9.    The defendant and their employees, servants and agents

acted in a negligent, grossly negligent, reckless, willful and

wanton manner in failing to maintain the premises in a safe

condition and the injuries and damages sustained by the plaintiff

were directly and proximately caused and occasioned by the willful,

wanton, reckless, careless, negligent and unlawful conduct on the

part of the defendant and breach of duty by the defendant, in one

or more of the following particulars:

      (a)   In failing to maintain, construct and design the
            premises floor/door sill in such a manner that the
            flooring and the door sill to the entrance/exit way
            was not unduly and dangerously raised;

      (b)   In failing to give proper warning of the dangerous
            condition;

      (c)   In creating the dangerous conditions and by failing
            to remedy the same after actual or constructive notice;

      (d)   In failing to maintain the premises in an otherwise safe
            condition considering the conditions then and there
            existing;

      (e)   In failing to adhere to the applicable regulations and
            codes relating to premises maintenance, specifically, as
            to flooring and door sills, and further specifically, in
            failing to adhere to the applicable regulations and codes
            as to the maintenance, construction and design of
            entrance and exit ways;

      (f)   In such other and further ways as may be determined
            as the case progress and discovery is undertaken.

      10.   That as a direct and proximate cause of the defendant’s
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breach      of   duty   to   the   plaintiff/business        invitee      and   the

defendant’s negligence, willfulness, wantonness and recklessness

and gross negligence, the plaintiff has suffered the following

actual damages;

      (a)    The plaintiff was confined to the care and treatment
             of skilled medical practitioners, that plaintiff was
             treated by such persons and may continue to receive
             treatment from them in the future; that Plaintiff
             has expended large sums of money for such treatment
             and may be obligated to expend even more money in
             the future for such care and treatment;

      (b)    The plaintiff was hindered and prevented, and in
             the future may be hindered and prevented, from
             transacting and attending to Plaintiff's necessary
             and lawful affairs since the date of the incident
             and loss, and was deprived from various salaries,
             pleasures, advantages and earning capacities which
             Plaintiff would have otherwise been derived and
             acquired;

      (c)    The plaintiff was in the past, present and may
             continue to be in the future be put to great
             expense for medicine and drugs;

      (d)    The plaintiff has expended large sums of money in
             the past and present for transportation to and from
             the doctor's office and hospitals and will continue
             to have such expense in the future;

      (e)    The plaintiff has suffered permanent impairment and
             disability as a result of the accident;

      (f)    The plaintiff has been put to great expense in relocation
             and moving costs caused by her disability, which has
             required her to relocate to a new physical residence due
             to an inability to care for herself since the accident,
             and the plaintiff has incurred further necessary expenses
             and costs in caring for, and sustaining herself, since
             she is no longer able to do so without assistance from
             others;

      (g)    The plaintiff suffered pain, suffering, loss of enjoyment
             of life and other emotional distress.

      WHEREFORE, the plaintiff respectfully prays for judgment
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against the defendant as follows;

      1.    As to the FIRST CAUSE OF ACTION, for actual damages in an
            appropriate amount, plus the costs and expenses of this
            action, and;

      2.    For such other and further relief as this Court deems
            just and proper.




                                     BARTH, BALLENGER AND LEWIS, L.L.P.

                                     s/ E. Guy Ballenger
                                     E. GUY BALLENGER
                                     ATTORNEY FOR PLAINTIFF
                                     POST OFFICE BOX 107
                                     FLORENCE, SOUTH CAROLINA 29503
                                     (843) 662-6301 (TELEPHONE)
                                     SC BAR NUMBER: 72499


Florence, South Carolina
July 27, 2022

(Jury Trial Demanded)
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